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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


LAWRENCE “POPPY” LIVERS,

                              Plaintiff,

     v.                                        Civil Action No. 2:17-cv-04271-MMB

NATIONAL COLLEGIATE ATHLETIC                   OPPOSITION TO MOTION FOR
ASSOCIATION, a/k/a the NCAA, et al.            SANCTIONS

                             Defendants.
       Despite the fact that two federal courts in as many years have adopted the arguments
made by Defendants in their Motions to Dismiss (see Berger v. Nat’l Collegiate Athletic
Ass’n, 843 F.3d 285 [7th Cir. 2016]; Dawson v. Nat’l Collegiate Athletic Ass’n, 250 F.
Supp.3d 401 [N.D. Cal. 2017]), Plaintiff seeks Rule 11 sanctions from Defendants for making
them. This Motion need not detain the Court for long. The very existence of decisions
adopting Defendants’ arguments and dismissing complaints similar to Plaintiff’s means, as a
matter of law, that the pending Motion to Dismiss is “warranted by existing law or by a
nonfrivolous argument for extending . . . existing law” within the meaning of Rule 11(b)(2)
and is “not being presented for any improper purpose” within the meaning of Rule 11(b)(1).
       In Oliveri v. Thompson, 803 F.2d 1265, 1275 (2d Cir. 1986), the Second Circuit held
that “[R]ule 11 is violated only when it is ‘patently clear that a claim has absolutely no
chance of success.’”) (emphasis added) (quoting Eastway Construction Corp. v. City of New
York, 762 F.2d 243, 254 [2d Cir. 1985], cert. denied sub nom. County of Suffolk v. Graseck,
480 U.S. 918, 107 S.Ct. 1373, 94 L.Ed.2d 689 [1987]). In Doering v. Union County Bd. of
Chosen Freeholders, 857 F.2d 191, 194 (3d Cir. 1988), the Third Circuit quoted this language
from Olvieri with approval as reflecting its interpretation of Rule 11. “Accordingly,
Pennsylvania district courts have held that Rule 11 sanctions should be imposed only if it is
patently clear that a claim ‘has absolutely no chance of success.’” LabMD, Inc. v. Tiversa
Holding Corp., No. CV 15-92, 2016 WL 3002433, at *7 (W.D. Pa., May 23, 2016). See Ahn
v. Korea Advanced Institute of Science and Technology, No. 14-CV-1987, 2014 WL 6455593,
at *9 (D.N.J., Nov. 17, 2014) (same); Patterson v. Averbeke, No. CIV.A. 10-996, 2013 WL
6731987, at *3 (E.D. Pa., Dec. 20, 2013) (same); Zuniga v. Riverview Residential Partners, II,
L.P., No. CIV.A. 10-826, 2011 WL 240162, at *3 (E.D. Pa., Jan. 25, 2011) (same); Cvetko v.
Derry Tp. Police Dept., No. 1:09-CV-01260, 2010 WL 3338256, at *2 (M.D. Pa., Aug. 24,
2010) (same).
       Where—as here—a theory has had actual success outside the Third Circuit, and has
not been squarely rejected in the Third Circuit, it cannot be said that it “has absolutely no
chance of success,” because it has succeeded.
       The gist of Plaintiff’s motion is his argument that ‘I’m right and you’re wrong.’ As
explained in greater detail in Defendant’s Moving and Reply papers in support of their Motion
to Dismiss (Dkt. 24-1 and 37, which are incorporated by this reference) Plaintiff is not right

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when he argues that the Complaint plausibly alleges an employment relationship between
student-athletes and their schools, based solely on the fact that the students are athletes. But
even if he is, the Motion to Dismiss is not frivolous because it has a demonstrated “chance of
success.” In fact, it has succeeded in other courts.1
       While the Motion to Dismiss is not frivolous as a matter of law, the same cannot be
said about Plaintiff’s Motion for Sanctions, which ignores Third Circuit precedent construing
Rule 11. Thirty years ago, the Third Circuit expressed “concern[]” about
               “[t]he growing tendency to extend the Rule beyond its text and
               intent [and] . . . the noticeable increase in unjustified requests for
               sanctions. The Rule is being perverted when used as a tool for
               harassment rather than as an instrument to prevent abuse. . . .
               The use of Rule 11 as an additional tactic of intimidation and
               harassment has become part of the so-called ‘hardball’ litigation
               techniques espoused by some firms and their clients. Those
               practitioners are cautioned that they invite retribution from
               courts which are far from enchanted with such abusive conduct.
               A court may impose sanctions on its own initiative when the
               Rule is invoked for an improper purpose.” Gaiardo v. Ethyl
               Corp., 835 F. 2d 479, 484-85 (3d Cir. 1987) (citations omitted).
It warned litigants that Rule 11 is “not to be used routinely when the parties disagree about
the correct resolution of a matter in litigation.” Morristown Daily Record, Inc. v. Graphic
Communications Union Local 8N, 832 F. 2d 31, 32 n.1 (3d Cir. 1987). Yet that is precisely
what Plaintiff has done here.2



       1
        Furthermore, Plaintiff does not even dispute that his Complaint was time-barred. (See
Reply Memorandum In Support of Motion to Dismiss, at pp. 1-6 [Dkt. 37].)
       2
         Another example of Plaintiff ignoring Third Circuit precedent: Plaintiff argues that
defendant violated Rule 11(b)(2) by failing to “state expressly that he or she is arguing for
reversal or change of law.” (Mot. at p. 15 [Dkt. 27].) The Third Circuit has rejected such a
requirement:
               “[T]he district court read Rule 11 to impose an obligation, a ‘duty
               of candor,’ directing counsel to label their arguments as either
               supported by existing law, or contrary to existing law but
               supported by a good faith attempt to extend or modify the
               jurisprudence. . . . . We . . . hold that counsel may not be found to
               have violated Rule 11 merely for failing to ‘label’ the argument
               advanced.” Mary Ann Pensiero, Inc. v. Lingle, 847 F.2d 90, 96 (3d
               Cir. 1988) (following Golden Eagle Distributing Corp. v.
                                                -2-
       As Gertrude Stein once quipped about Oakland, “There is no there, there.” The
arguments made by Defendants in the Motion to Dismiss have been adopted by federal
courts—twice. As such, they cannot possibly be frivolous as a matter of law.



Dated: February 16, 2018                          Respectfully submitted

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               Burroughs Corp., 801 F.2d 1531 [9th Cir. 1986], reh'g denied, 809
               F.2d 584 [9th Cir. 1987]).
The Third Circuit has not reversed this rule. See Langer v. Monarch Life Ins. Co., 966 F.2d 786,
810 (3d Cir. 1992) (in Mary Ann Pensiero, Inc. “we merely held that counsel need not
affirmatively label their theories as based on good faith arguments for a change in law rather than
on existing law.”).
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      University of Pittsburgh; and
      Villanova University




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                              CERTIFICATE OF SERVICE

        I hereby certify that on February 16, 2018, the foregoing document was served

on counsel by filing via the CM/ECF system, which will send an email notice to

registered parties.


                                               s/   Steven B. Katz      .

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